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 LOUIS M. KEALOHA

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,            CR NO. 17-00582-JMS

       Plaintiff,                      DEFENDANTS KATHERINE P.
                                       KEALOHA’S AND LOUIS M.
        vs.                            KEALOHA’S FIRST AMENDED
                                       EXHIBIT LIST
  KATHERINE P. KEALOHA (1),
  LOUIS M. KEALOHA (2),
  DEREK WAYNE HAHN (3),
  MINH-HUNG NGUYEN (4),
  GORDON SHIRAISHI (5), and
  DANIEL SELLERS (6),

       Defendants.
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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
  1001                                Trial Testimony excerpt
  1002                                Disbursement instructions
  1003                                Central Pacific Bank Documents
  1004                                Metlife document
  1005                                Settlement statement
  1006                                HECM counseling certificate
  1007                                Amortization schedule
  1008                                Check dated 06/01/04
  1009                                Check dated 07/21/04
  1010                                Check dated 12/10/04
  1011                                Check dated 06/05/12
  1012                                Check dated 04/01/09
  1013                                Check dated 05/14/09
  1014                                Check dated 09/16/10
  1015                                Check dated 08/18/10
  1016                                Check dated 09/15/11
  1017                                Check dated 10/07/11
  1018                                Check dated 09/09/11
  1019                                Email chain
  1020                                Special Verdict form
  1021                                Photograph
  1022                                Affidavit
  1023                                05/22/10 HPD incident report #14-188486 re
                                      unknown party scratching John Hinazumi’s vehicle
  1024                                02/23/09 – HPD incident report #09-069382 –
                                      attempted burglary at Kealoha residence – shattered
                                      front door glass
  1025                                06/24/11 -HPD incident report #11-226328 – Misc
                                      Pub re Eric Kramer/Gerard Puana argument over
                                      parking
  1026                                06/27/11 – HPD incident report #11-230568 re
                                      Gerard Puana UED – Kramer residence
  1027                                03/29/12 – HPD incident report #12-123874 re
                                      burglary 2nd – Bobby Nguyen report that someone
                                      entered Kealoha garage & disabled surveillance
  1028                                03/29/12 – HPD incident report #12-123875 re
                                      attempted burglary
  1029                                04/17/12 – HPD incident report #12-140843 MISC
                                      PUB re female reporting man yelling and swearing in
                                      front of her
  1030                                04/17/12 – HPD incident report #12-150896 MISC
                                      PUB re Kat Kealoha relating an unknown male stood
                                      outside her residence and shouted vulgar
  1031                                04/18/12 – HPD incident report #12-141647 MISC
                                      PUB re female reporting unknown man yelling and

                                        2
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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      screaming about his
  1032                                04/18/12 – HPD incident report #12-141648 MISC
                                      PUB re female reporting unknown person yelling
                                      about constitutional
  1033                                06/22/13 – HPD incident report #13-226943 Theft 2
                                      re unknown suspect stealing mailbox from Kealoha
                                      residence
  1034                                06/22/13 – HPD 443 Card re mailbox theft
  1035                                06/23/13 – HPD incident report #13-233141 Burg. 2nd
                                      re Kat Kealoha reporting unknown person entered her
                                      garage and damaged a vehicle
  1036                                06/27/13 – HPD incident report #13-233821 and
                                      MISC PUB re Gerard Puana reporting two trucks
                                      were following him at various places/times
  1037                                06/27/13 – HPD incident report #13-233824 and
                                      MISC PUB re Gerard Puana reporting two trucks
                                      were following him at various places/times
  1038                                06/27/11 - HPD Report No. 11-230568 Prepared by
                                      HPD Officer Kyle C. Chu
  1039                                06/27/11 – HPD Report No. 11-230568 Prepared by
                                      HPD Officer William Ellis
  1040                                06/27/11 – HPD Report No. 11-230568 Prepared by
                                      HPD Officer Chad Gibo
  1041                                01/28/09 Purchase Contract for Greenwood Condo –
                                      1128 Ala Napunani Street, #1803, Honolulu, HI
  1042                                06/30/13 – Colored photos of Gerard Puana taken by
                                      US Marshal
  1043                                07/08/13 – MOI of Shaughnessy interview of
                                      Destenie Turner w/photo lineup of Gerard Puana
  1044                                Blank – No Exhibit
  1045                                Blank – No Exhibit
  1046                                Blank – No Exhibit
  1047                                Blank – No Exhibit
  1048                                11/09/12 – Check written by Jaunette DeMello
                                      Quiroz to Cash in the amount of $1,385
  1049                                12/17/14 & 12/18/14 – Emails between Kat Kealoha
                                      and Brian
  1050                                06/29/13 – HPD arrest report of Gerard Puana
  1051                                09/19/13 – Motion to Correct Illegal Sentence –
                                      Gerard Puana UED
  1052                                06/28/11 – Petition for Ex Parte Temporary
                                      Restraining Order filed by Julie Honey Dean Kramer
                                      against Gerard Puana
  1053                                06/24/11 – HPD incident report #11-226064 MISC
                                      PUB re Gerard Puana insisting on speaking to Chief
                                      Kealoha
  1054                                12/30/15 FBI 302 re 07.23.15 investigation of Gerard
                                      Puana [re coffee cup incident & mailbox turning 180

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      degrees]
  1055                                06/27/11 - Video of Gerard Puana throwing coffee
                                      cup incident – Black Ford Explorer - .avi
  1056                                03/13/12 – Judgment of Conviction and Probation
                                      Sentence – CR 11-1-0895
  1057                                03/13/12 – Minutes re Gerard Puana Deferred
                                      Acceptance of No Contest Plea
  1058                                03/13/12 – Continuation of Clerk’s minutes re Gerard
                                      Puana sentenced to serve 47 days
  1059                                03/13/12 – Continuation of Clerk’s Minutes from
                                      Phase A
  1060                                Sand Island Documents
  1061                                07/02/13 – USDC Arrest warrant for Gerard Puana
  1062                                Phone records for XXX.XXX4984 from 01.03.13
                                      through 04.2015
  1063                                HI DMV Motor Vehicle Registration for Gerard
                                      Puana, Plate: NYG349
                                      Make: Pontiac; Type: 4DSD: Yr: 2005
  1064                                06/30/13 – HPD interview of G. Puana [by D. Akagi]
                                      w/Brian Shaughnessy present 06-30 Interview Gerard
                                      Puana HPD-Serial 31
  1065                                Hoohiki Docket List in State v. G. Puana - 1PC11-1-
                                      000895
  1066                                07/05/11 - Warrant of Arrest for G. Puana in State v.
                                      G. Puana, 1PC11-1-000895
  1067                                06/29/11 – Arrest report for G. Puana re HPD Report
                                      No. 11-230568
  1068                                06/29/11 - Order Pertaining to Bail in State v. G.
                                      Puana, 1PC11-1-000895
  1069                                12/12/11 G. Puana’s No Contest Plea and Motion to
                                      Defer in State v. G. Puana, 1PC11-1-000895
  1070                                03/12/13 - Judgment of Conviction and Probation
                                      Sentence - State v. G. Puana, 1PC11-1-000895
  1071                                03/12/13 Terms and Conditions of Probations in State
                                      v. G. Puana, 1PC11-1-
  1072                                03/28/12 - Waiver of Extradition in State v. G. Puana,
                                      1PC11-1-000895
  1073                                05/10/12 - G. Puana’s Motion for Reconsideration of
                                      Sentence in State v. G. Puana, 1PC11-1-000895
  1074                                05/10/12 - Declaration of Counsel in Support of G.
                                      Puana’s Motion for Reconsideration of Sentence in
                                      State v. G. Puana, 1PC11-1-000895
  1075                                06/12/12 - Order Granting Motion for DANC and
                                      Conditions of Probation in State v. G. Puana, 1PC11-
                                      1-000895
  1076                                06/14/13 - Waiver of Extradition in State v. G. Puana,
                                      1PC11-1-000895
  1077                                09/19/13 - State’s Motion to Correct Illegal Sentence

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      in State v. G. Puana, 1PC11-1-000895
  1078                                08/23/13 - Ex. A (Court Calender View of
                                      1P1020001475) to State’s Motion to Correct Illegal
                                      Sentence in State v. G. Puana, 1PC11-1-000895
  1079                                08/23/13 - Ex. B (Court Calender View of
                                      1P1020001476) to State’s Motion to Correct Illegal
                                      Sentence in State v. G. Puana, 1PC11-1-000895
  1080                                08/23/13 - Ex. C (Court Calender View of
                                      1P1020001972) to State’s Motion to Correct Illegal
                                      Sentence in State v. G. Puana, 1PC11-1-000895
  1081                                12/12/11 - Ex. D (G. Puana COP and Motion to
                                      Defer) to State’s Motion to Correct Illegal Sentence
                                      in State v. G. Puana, 1PC11-1-000895
  1082                                03/13/12 - Ex. E (Judgment of Conviction) to State’s
                                      Motion to Correct Illegal Sentence in State v. G.
                                      Puana, 1PC11-1-000895
  1083                                03/13/12 - Ex. E (Terms and Conditions of Probation)
                                      to State’s Motion to Correct Illegal Sentence in State
                                      v. G. Puana, 1PC11-1-000895
  1084                                05/10/12 - Ex. F (G. Puana’s Motion for
                                      Reconsideration of Sentence) to State’s Motion to
                                      Correct Illegal Sentence in State v. G. Puana, 1PC11-
                                      1-000895
  1085                                05/10/12 - Ex. F (Decl. of Counsel to G. Puana’s
                                      Motion for Reconsideration of Sentence) to State’s
                                      Motion to Correct Illegal Sentence in State v. G.
                                      Puana, 1PC11-1-000895
  1086                                06/15/12 - Ex. G (Order Granting DANC) to State’s
                                      Motion to Correct Illegal Sentence in State v. G.
                                      Puana, 1PC11-1-000895
  1087                                11/14/13 - G. Puana’s Opposition to State’s Motion to
                                      Correct Illegal Sentence
  1088                                11/25/13 - Order Denying State’s Motion to Correct
                                      Illegal Sentence
  1089                                08/26/11 – Letter from Sand Island Treatment Center
                                      to Judge Wilson re: G. Puana
  1090                                02/13/17 - G. Puana’s calendars and bank records
                                      referred to at his 9/22/16 FBI interview re: 2007-2013
                                      events with K. Kealoha
  1091                                06/21/13 – Photo of mailbox
  1092                                06/21/13 - Various still video shots of street and
                                      Kealoha residence and white car
  1093                                06/29/13 - Document Entitled “Defendant’s Exhibit
                                      “P” (First Circuit Judicial Determination of Probable
                                      Cause-G. Puana, HPD No. 13-226943 and Affidavit
                                      in Support of Warrantless Arrest-NaleiSooto)
  1094                                07/08/13 - Document Entitled “Defendant’s Exhibit
                                      “Z” (7/8/13 Letter from USPS Inspector Brian

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      Shaughnessy to Les Osborne Re: Case No. 1984950-
                                      MT, Honolulu, HI: Violation of Title 18, USC
                                      Section 1705, Destruction of Letter Boxes or Mail; by
                                      GERARD K. PUANA)
  1095                                06/29/13 - Document Entitled “Defendant’s Exhibit
                                      “BB” (First Circuit Judicial Determination of
                                      Probable Cause-G. Puana, HPD No. 13-226943 and
                                      Affidavit in Support of Warrantless Arrest-
                                      NaleiSooto
  1096                                06/29/13 - Document Entitled “Defendant’s Exhibit
                                      “CC” (HPD Arrest Report-Gerard Puana in HPD
                                      Report No. 13-226943)
  1097                                01/26/10 - Document Entitled “Defendant’s Exhibit
                                      “EE” (1/26/10 Email from K. Kealoha to G. Puana
                                      Re: Greenwood and payments to K. Kealoha’s acct
                                      XXXX-XX1502)
  1098                                WITHDRAWN - 07/08/13 - Document Entitled
                                      “Defendant’s Exhibit BBB” (USPS Memorandum of
                                      Interview (prepared by Brian Shaughnessy) re:
                                      interview of BOH representative Destenie Turner
                                      who confirmed G. Puana on 1/23/13 improperly
                                      attempted to access F. Puana and K. Kealoha’s bank
                                      statements)
  1099                                12/18/09 - Document entitled “Exhibit 4” (12/18/09
                                      Email from G. Puana to K. Kealoha reverse mortgage
                                      “secret”)
  1100                                WITHDRAWN - Undated - Document entitled
                                      “Exhibit 6” (U.S. Marshals Service photos of face
                                      shot of G. Puana and hand tattoo MP with skull, G. K.
                                      Puana FID XXX2607)
  1101                                WITHDRAWN - 12/02/14 - Defendant’s Second
                                      Amended Exhibit List in U.S. v. G. Puana, Cr. No.
                                      13-00735 LEK
  1102                                09/30/14 - Deposition Transcript of G. Puana in F.
                                      Puana v. K. Kealoha, Civil No. 13-1-0686-03 VLC
  1103                                07/08/13 - 7/8/13 USPS Report Case No. 1984950 re:
                                      G. Puana (prepared by Brian Shaughnessy) to AUSA
                                      L. Osborne, Exs. 1-7
  1104                                12/03/14 - Federal Court Notice to AUSA L. Osborne
                                      Re: Records Produced by ASB on 11/29/14 pursuant
                                      to Grand Jury Subpoena, Records are mainly bank
                                      statements from G. Puana Account No. XX-XXXXXXX,
                                      from the period 12/8/09 to 1/8/14
  1105                                WITHDRAWN - 11/14/14 - Depo Transcript of
                                      “Kay” Florence K. Hartsell in F. Puana et al v. K.
                                      Kealoha, Civ. No. 13-1-0686-03
  1106                                WITHDRAWN - 11/14/14 - Depo Transcript of
                                      Ricky L. Hartsell in F. Puana et al v. K. Kealoha, Civ.

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      No. 13-1-0686-03
  1107                                WITHDRAWN - 11/14/14 - Depo Transcript of
                                      Carolyn DeMello in F. Puana et al v. K. Kealoha,
                                      Civ. No. 13-1-0686-03
  1108                                WITHDRAWN - 11/19/14 - Cont’d Depo Transcript
                                      of Carolyn DeMello in F. Puana et al v. K. Kealoha,
                                      Civ. No. 13-1-0686-03
  1109                                WITHDRAWN - 2013-2014 - Documents from F.
                                      Puana et al v. K. Kealoha, Civ. No. 13-1-0686-03
                                      (Discovery, Court Submissions, etc.)
  1110                                06/29/13 - Exhibit “2” in Civil No. 13-1-0685-03, K.
                                      Kealoha Depo (Photo of BOH Check Card of Gerard
                                      Puana, XXXX XXXX XXXX 9579)
  1111                                06/29/13 - Exhibit “9” in Civil No. 13-1-0685-03, K.
                                      Kealoha Depo (Island Title Corp. Final Statement
                                      dated 10/6/09 Re: Borrower-The John Puana and
                                      Florence Puana Trusts, Lender-MetLife Home Loans
                                      REVERSE MORTAGE for $513, 474.20)
  1112                                WITHDRAWN - 06/29/13 - Exhibit “15” in Civil
                                      No. 13-1-0685-03, K. Kealoha Depo (9/19/13 Final
                                      Settlement Statement (HUD-1) re: Sale of 3934 Nioi
                                      Place, Honolulu, Hi 96816, Seller: John Puana Trust
                                      /Florence Puana Trust
  1113                                WITHDRAWN - 06/29/13 - Exhibit “16” in Civil
                                      No. 13-1-0685-03, K. Kealoha Depo (10/05/09
                                      Apartment Deed (in Trust) from Reynold and Una
                                      Lee to K. Kealoha, Trustee of Gerard K. Puana
                                      Revocable Trust, re: 1128 Ala Napunani St., #1803 or
                                      “Greenwood”)
  1114                                07/11/13 - Grand Jury Testimony of Brian
                                      Shaughnessy in the matter of USDC GRAND JURY
                                      INVESTIGATION No. 13-I-78
  1115                                06/00/13 - Documents re: Dru Akagi and HPD No.
                                      13-226943 (June 2013) (PORTIONS REDACTED)
  1116                                07/14/14 - 7/14/14 Supplemental Report Covering
                                      Alleged Destruction of Mailbox Re; G. Puana from
                                      Brian Shaughnessy to L. Osborne with Exhibits
  1117                                12/00/03 thru 12/00/13 - G. Puana’s Calendars from
                                      12/03 to 12/13
  1118                                WITHDRAWN - Undated - Memo from G.
                                      Kurashima re: various document provided and notes
                                      re: civil case
  1119                                WITHDRAWN - 10/05/09 - 10/5/09 Apartment
                                      Deed (To Trust) from Reynold Lee and Una Lee to
                                      Katherine Kealoha, Trustee for the G K. Puana
                                      Revocable Trust, re: 1128 Ala Napunani St., #1803,
                                      Honolulu, Hi 96818
  1120                                WITHDRAWN - 01/28/09 Purchase Contract, 1128

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  Plf    Def.   Date
  No     No.    Offered   Mkd   Adm   Description
                                      Ala Napunani St., #1803, Honolulu, HI 96818,
                                      respectively
  1121                                12/01/12 thru 07/31/13 - HSFCU Statements for F.
                                      Puana and G. Puana account (Acct No. XXXX0340)
                                      from 12/01/12-7/31/13, Deposit and Cancelled
                                      Checks
  1122                                12/01/12 thru 06.30/15 - HSFCU Statements for G.
                                      Puana account (Acct No. XXXX0660) from
                                      12/01/12-6/30/15, Deposit and Cancelled Checks
  1123                                07/30/15 - Email from HSFCU compliance manager
                                      William Akamine to Laurice Otsuka, FBI, re:
                                      RECEIPTS FOR PUANA ACCOUNT NOs
                                      XXXX0660 and XXXX0340
  1124                                01/07/13 thru 07/16/13 - HSFCU Receipts for
                                      Account No. XXXX0340, shows “GERARD K.
                                      PUANA” signatures
  1125                                10/31/12 thru 12/02/14 - HSFCU Receipts for
                                      Account No. XXXX0660 shows “GERARD K.
                                      PUANA” signatures
  1126                                07/17/15 - Certificate of Authenticity of ASB
                                      Business Records Signed by Renette Cabatic, ASB
                                      Legal Docs Assistant, pursuant to Grand Jury
                                      Subpoena
  1127                                07/16/15 - Letter from ASB Legal Docs Assistant
                                      Renette Cabatic to FBI Agent Jeff Felmann re:
                                      Additional Records for K. Kealoha and G. Puana
  1128                                12/08/08 thru 06/08/15 - ASB Bank Statements for
                                      Acct No. 00905-32439 (Gerard K. Puana) from
                                      12/8/08 tp 6/8/15, deposits and cancel ed checks
  1129                                01/03/11 thru 06/30/15 - ASB Deposit, Debits, and
                                      Cancelled Checks for ASB Account No. XXXXX-
                                      X2439 (Gerard K. Puana) from 1/3/11 to 6/30/15
  1130                                12/04/14 - Transcript of Jury Trial in USA v. G.
                                      Puana, Cr No. 13-00375 LEK, Testimony of Niall
                                      Silva and Louis Kealoha
  1131                                07/02/13 - 7/2/13 CID Closing Report prepared by
                                      HPD Det. Dru Akagi in HPD Report No. 13-226943
                                      (Theft 2) Complainant: K. Kealoha, 1018 Kealaolu
                                      Ave
  1132                                01/23/15 – Trial Testimony of Gerard Puana – 13-1-
                                      0686
  1133                                01/27/15 – Trial Testimony of Gerard Puana -13-1-
                                      0686
  1134                                01/28/15 - Trial Testimony of Gerard Puana - 13-1-
                                      0686
  1135                                01/29/15 - Trial Testimony of Gerard Puana - 13-1-
                                      0686
  1136                                01/30/15 - Trial Testimony of Gerard Puana - 13-1-

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  Plf     Def.   Date
  No      No.    Offered   Mkd   Adm   Description
                                       0686
  1137                                 01/22/15 Trial Testimony Shari Motooka-Higa- 13-1-
                                       0686
  1138                                 WITHDRAWN - 01/22/15 Trial Testimony Carolyn
                                       Demello- 13-1-0686
  1138b                                WITHDRAWN – 01/23/15 Trial Testimony Carolyn
                                       DeMello 13-1-0686
  1139                                 02/04/15 - Trial Testimony Destenie Turner- 13-1-
                                       0686
  1140                                 WITHDRAWN - 02/04/15 - Trial Testimony Lealani
                                       Puana- 13-1-0686
  1141                                 WITHDRAWN - 02/04/15 - Trial Testimony
                                       Rudolph Puana- 13-1-0686
  1142                                 Gerard Puana' s American Savings Bank Monthly
                                       Statements and Checks to Gerard Puana, from
                                       January 2003 to December 2009 – P-1
  1143                                 Bank of Hawaii ."Arbonne" Account No.
                                       XXX2522, Monthly Bank Statements, September
                                       2007 to December 2009 – P-2
  1144                                 Gerard Puana American Savings Bank Acct. No.
                                       XXX2439 Monthly Statements & Check Deposited
                                       to Kealoha, BOH Joint Account No. XXX1502 – P-4
  1145                                 Greenwood Apt. 1803 Purchase Contract, dated
                                       January 28, 2009 – P-10
  1146                                 Greenwood Apt. 1803 Counter Offer, dated February
                                       3, 2009 – P-11
  1147                                 Greenwood Apt. 1803, Addendum, signed by
                                       Kealoha, March 26, 2009 - P-12
  1148                                 Greenwood Apt. 1803, Addendum, signed by
                                       Kealoha, April 15, 2009 - P-13
  1149                                 Greenwood Apt. 1803, Addendum, signed by
                                       Kealoha, April 26, 2009 P-14
  1150                                 Greenwood Apt. 1803, Addendum, signed by
                                       Kealoha, June 30, 2009 - P-15
  1151                                 Greenwood Apt. 1803, Addendum, signed by
                                       Kealoha, July 14, 2009 - P-16
  1152                                 Greenwood Apt. 1803, Addendum, signed by
                                       Kealoha, August 17, 2009 - P-17
  1153                                 Greenwood Apt. 1803 Addendum, initialed
                                       September 8, 2009 - P-18
  1154                                 Greenwood Apt. 1803, Addendum, signed by
                                       Kealoha September 9, 2009 - P-19
  1155                                 Greenwood Apt. 1803, Buyer's Estimated Settlement
                                       Statement, printed Oct. 2, 2009 - P-20
  1156                                 Greenwood Apt. 1803 Buyer's Final
                                       Settlement Statement, dated Oct 14, 2009 - P-21
  1157                                 Greenwood Buyer/Borrower's Vesting Instruction,
                                       dated May 1, 2009 - P-22

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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1158                                Kealoha's Greenwood Apt. 1803 Deposit Check
                                       $1,000, dated January 28, 2009 - P-23
   1159                                Kealoha's Greenwood Apt. 1803 Deposit Check
                                       $4,000; dated January 28, 2009 - P-24
   1160                                Kealoha's Greenwood Apt. 1803 "Rental Check
                                       $3,600, dated March 17, 2009 - P-25
   1161                                Kealoha's Greenwood Apt. 1803 "Rental" Check
                                       $1,800, dated April 6, 2009 - P-26
   1162                                Kealoha's Greenwood Apt. 1803 "Rental” Check
                                       $1,800, dated May 13, 2009 - P-27
   1163                                Kealoha's Greenwood Apt. 1803 "Rental” Check
                                       $1,800, dated June 3, 2009 - P-28
   1164                                Kealoha' s Greenwood Apt. .1803 "Rental" Check
                                       $1,800, dated July 10, 2009 - P-29
   1165                                Sears Receipt, dated December 3, 2009 – P-30
   1166                                Homeworld Receipt, dated December 3, 2009 – P-31
   1167                                Discount Furniture Warehouse, dated July 16, 2010 –
                                       P-32
   1168                                Apartment Deed (To Trust) Apt. 1803 – P-33
   1169                                Plaintiffs Florence Puana and Gerard Puana
                                       Complaint, filed March 7, 2013 – P-34
   1170                                Defendant Katherine Kealoha First AmendedAnswer
                                       to Complaint and First Amended Counterclaim; filed
                                       August 20, 2014 – P-35
   1171                                Gerard Puana's ASB, Safe Deposit Lease Agreement,
                                       Box No. XXX0434, dated September 8, 2006 – P-37
   1172                                Gerard Puana's American Savings Bank, Safe Deposit
                                       Box No. XXX0434, Log of Access to Safe Deposit
                                       Box – P-38
   1173                                DCCA Arbonne International Trade Name – P-40
   1174                                Sole Proprietorship Signature Card, Bank of Hawaii,
                                       Acct. No.XXX2522, Katherine Puana Kealoha dba
                                       Arbonne International, dated September 11, 2007 - P-
                                       41
   1175                                Bank of Hawaii Arbonne Account No. XXX2522
                                       Check Card for Gerard Puana - P-42 ,
   1176                                2004 – Gerard Puana Calendar – P-88
   1177                                2005 – Gerard Puana Calendar – P-89
   1178                                2006 – Gerard Puana Calendar – P-90
   1179                                2007 – Gerard Puana Calendar – P-91
   1180                                2008 – Gerard Puana Calendar – P-92
   1181                                2009 – Gerard Puana Calendar – P-93
   1182                                2010 – Gerard Puana Calendar – P-94
   1183                                2011 – Gerard Puana Calendar – P-95
   1184                                2011 – Gerard Puana Amended 2011 Calendar – P-
                                       95A
   1185                                2012 – Gerard Puana Calendar – P-96


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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1186                                WITHDRAWN - 1128 Ala Napunani Purchase
                                       Contract (Exhibit A to Gerard Puana Deposition) – D-1
   1187                                Seller's Real Property Disclosure Statement
                                       (Exhibit C to Gerard Puana Deposition) – D-3
   1188                                Document Receipt and Approval
                                       ( Exhibit D to Gerard Puana Deposition) – D-4
   1189                                Agmnt to Occupy Prior to Close of Escrow.
                                       (Exhibit E to Gerard Puana Deposition) – D-5
   1190                                Email dated June 22, 2011
                                       (Exhibit F to Gerard Puana Deposition) – D-6
   1191                                Gerard Puana's Answers To Interrogatories
                                       (Exhibit G to Gerard Puana Deposition) – D-7
   1192                                Various months of appointment calendar
                                       (Exhibit H to Gerard Puana Deposition) -D-8
   1193                                Check No. 1439
                                       (Exhibit I to Gerard Puana Deposition) – D-9
   1194                                Check No. 1514
                                       (Exhibit J to Gerard Puana Deposition) – D-10
   1195                                Check No. 1591
                                       (Exhibit K to Gerard Puana Deposition) – D-11
   1196                                Check No. 1269
                                       (Exhibit L to Gerard Puana Deposition) – D-12
   1197                                Check No. 1070
                                       (Exhibit M to Gerard Puana Deposition) – D-13
   1198                                Check No. 1073
                                       (Exhibit N to Gerard Puana Deposition) – D-14
   1199                                Check No. 1084
                                       (Exhibit O to Gerard Puana Deposition) – D-15
   1200                                Check No. 1106
                                       (Exhibit P to Gerard Puana Deposition) – D-16
   1201                                Check Nos. 2119 and 2120
                                       (Exhibit Q to Gerard Puana Deposition) – D-17
   1202                                Check Nos. 2199 and 2200
                                       (Exhibit R to Gerard Puana Deposition) – D-18
   1203                                Check Nos. 2265 and 2267
                                       (Exhibit S to Gerard Puana Deposition) - D-19
   1204                                Check Nos. 2271 and 22 72
                                       (Exhibit T to Gerard Puana Deposition) – D-20
   1205                                Check Nos. 2307 and 2308
                                       (Exhibit U to Gerard Puana Deposition) - D-21
   1206                                Letter dated April 24, 2012 from Kealoha to
                                       Tabacco
                                       (Exhibit W to Gerard Puana 0eoosition) – D-23
   1207                                Blank – No Exhibit
   1208                                Discount Furniture Warehouse Receipt
                                       (Exhibit Z to Gerard Puana Deposition) – D-26
   1209                                2009-2010 Real Property Tax Bill
                                       (Exhibit M to Gerard Puana Deposition) – D-27

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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1210                                Emails between Gerard and Kealoha
                                       (Exhibit BB to Gerard Puana Deposition) – D-28
   1211                                Blank – No Exhibit
   1212                                Homeworld receipt dated December 03,
                                       2009 (Exh. FF to Gerard Puana Deposition) – D-32
   1213                                Sears Installed Merchandise Agreement
                                       (Exhibit GG to Gerard Puana Deposition) – D-33
   1214                                Blank – No Exhibit
   1215                                Records from ASB re Safebox – D-102
   1216                                HFCU Records re Florence – D-103
   1217                                ASB Records Volumes 1 & 2 – D-104
   1218                                ASB Records re Account No. 00905 – D-105
   1219                                January 25, 2011 - Shell Oil gas card for
                                       Gerard – D-112
   1220                                2011 - Email Gerard Puana – D-114
   1221                                Gerard Calendars Produced November 21, 2014 – D-
                                       115
   1222                                June 3, 2009 - First American Title Payment – D-118
   1223                                KK Escrow Check – D-119
   1224                                Gerard Answers To Interrogatories – D-137
   1225                                Missing portions of P-1 and P-4 extracted
                                       from D-105 – D-281
   1226                                Blank – No Exhibit
   1227                                Blank – No Exhibit
   1228                                Photo of Mailbox
   1229                                Copy of photo of mailbox pedestal
   1230                                Undated - Copy of colored photo of mailbox after
                                       remodel was completed
   1231                                Blank – No Exhibit
   1232                                Photograph of Mailbox Pedestal 1018 Kealaolu
                                       Avenue Taken – Measurement of mailbox pedestal
                                       05.11.19
   1233                                Photograph of Mailbox Pedestal 1018 Kealaolu
                                       Avenue Taken – Closeup Measurement of mailbox
                                       pedestal (26 inches) 05.11.19
   1234                                Photograph of Mailbox Pedestal 1018 Kealaolu
                                       Avenue Taken – Base of mailbox pedestal 05.11.19
   1235                                Photograph of Mailbox Pedestal 1018 Kealaolu
                                       Avenue Taken – Topf of mailbox pedestal 05.11.19
   1236                                Photograph of Mailbox Pedestal 1018 Kealaolu
                                       Avenue Taken – Measurement of middle of mailbox
                                       pedestal (14.5 inches) 05.11.19
   1237                                Destenie Turner emails to Robert Marks dated 9-
                                       16-14, including EIR for Katherine Puana Kealoha
                                       on 1-15-13
   1238                                Gerard K. Puana List of Items for Sand Island
                                       Treatment Center 7.13

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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1239                                Amazon.com search for Solar Group Inc. Cast
                                       Aluminum Pedestal Mailbox, 12.26.14
   1240                                Video of Gerard K. Puana – 6/27/11 - coffee cup
                                       video
   1241                                Video of Mailbox Theft Video – Short Version
                                       6/21/13 (need sheet ID CD as submitted with
                                       original exhibits)
   1242                                Satellite Map of 3934 Nioi Place 5.19
   1243                                Terrain Map of 3934 Nioi Place 5.19
   1244                                Photograph of 3934 Nioi Place – Front View –
                                       5.19
   1245                                Photograph of 3934 Nioi Place – Front Right Side
                                       View – 5.19
   1246                                Photograph of 3934 Nioi Place – Front Left Side
                                       View – 5.19
   1247                                Photograph of 3934 Nioi Place – Rear Left Side
                                       View –5.19
   1248                                Photograph of 3934 Nioi Place – Rear Right View
                                       – 5.19
   1249                                1128 Napunani Street, #1803, Honolulu HI –
                                       current tax assessment (certified copy)
   1250                                1128 Napunani Street, #1803, Honolulu HI –
                                       apartment deed recorded 10/14/09 in the name of
                                       Gerard K. Puana Trust (certified copy)
   1251                                1128 Napunani Street, #1803, Honolulu HI –
                                       substitution of trustee recorded 1/13/15 (certified
                                       copy)
   1252                                Email #1 from Gerard Puana to Katherine Kealoha
                                       with photograph 6.22.11
   1253                                Email #2 from Gerard Puana to Katherine Kealoha
                                       with photograph 6.22.11
   1254                                HPD Officer Michael Garcia Appraisal Report dated
                                       6.30.13
   1255                                HPD Officer Michael Garcia Correspondence with
                                       Letha Decaires, Ethics Commission, 1.27.15 to 2.12.15
   1256                                FBI 302 by Caryn Ackerman and Jeffrey Felmann -
                                       HPD Officer Michael Garcia interview, 12.8.15
   1257                                Indictment – United States v. Gerard Puana, CR No.
                                       13-00735, 7.11.13
   1258                                FBI 302 by Jeffrey Felmann – Interview of Jeffrey
                                       Fryer 10.14.15
   1259                                FBI 302 by Jeffrey Felmann and Caryn Ackerman –
                                       Interview of Jeffrey Fryer 10.15.15
   1260                                FBI 302 by Jeffrey Felmann – Additional Information
                                       received from Jeffrey Fryer 10.13.15

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   Plf    Def.   Date
   No     No.    Offered   Mkd   Adm   Description
   1261                                Certificate of Title – 1128 Ala Napunani Street, #1803,
                                       Honolulu, HI 96818 – 10.14.14 (certified copy)
   1262                                Copy of Photo of Samson Ichinose – 06.22.11
   1263                                02.17.16 FBI 302 interview of Frederick Rosskopf
   1264                                Judgment – Florence Puana, et al. v. Katherine P.
                                       Kealoha, et al. - Civil Case No. 13-1-0686-03 VLC
   1265                                Judgment for Attorneys’ Fees – Florence Puana, et al.
                                       v. Katherine P. Kealoha, et al. - Civil Case No. 13-1-
                                       0686-03 VLC
   1266                                09.21.11 Email exchange between Katherine Kealoha
                                       and Gerard Puana
   1267                                Receipt for Bail 9.21.11



  DATED: Kaneohe, Hawaii, June 16, 2019.


                                 Respectfully submitted,



                                          /s/ Cynthia A. Kagiwada
                                 CYNTHIA A. KAGIWADA
                                 Attorney for Defendant
                                 KATHERINE P. KEALOHA



                                          /s/ Rustam A. Barbee
                                 RUSTAM A. BARBEE
                                 Attorney for Defendant
                                 LOUIS M. KEALOHA




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